                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                         )
                                                   )
                       Plaintiff,                  )
                                                   )
 v.                                                )              No. 3:07-CR-44
                                                   )              (PHILLIPS/SHIRLEY)
 LUKE A. MCLAUGHLIN,                               )
                                                   )
                       Defendant.                  )


                                MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate.       This matter came before the Court on Defendant Luke A.

 McLaughlin’s Motion To Withdraw Pending Motions [Doc. 176], filed on November 14, 2007. The

 Defendant asks to withdraw his pending motions and to remove the suppression hearing set for

 November 16, 2007 at 10:30 a.m. from the Court’s calendar. The following defense motions are

 pending:

                       (1) Motion to Suppress Evidence Seized on
                       December 7, 2005, [Doc. 84], filed on September 4,
                       2007;

                       (2) Motion to Exclude Evidence Obtained on May
                       16, 2007, [Doc. 86] filed on September 5, 2007;

                       (3) Motion to Adopt Co-Defendants’ Motions,
                       [Doc. 88], filed on September 6, 2007;

                       (4) Motion to Exclude Evidence Obtained on
                       December 7, 2005, [Doc. 89] filed on September 6,
                       2007.




Case 3:07-cr-00044-TAV-DCP           Document 178         Filed 11/15/07      Page 1 of 2      PageID
                                           #: 181
               Defendant’s Motion To Withdraw Pending Motions [Doc. 176] is GRANTED.

 Accordingly, his pending motions [Docs. 84, 86, 88, and 89] are DENIED as moot. Additionally,

 the suppression hearing set before this Court on November 16, 2007 at 10:30 a.m. is hereby

 cancelled.

               IT IS SO ORDERED.

                                                   ENTER:


                                                     s/ C. Clifford Shirley, Jr.
                                                   United States Magistrate Judge




                                              2


Case 3:07-cr-00044-TAV-DCP        Document 178       Filed 11/15/07     Page 2 of 2    PageID
                                        #: 182
